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                    UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF NEW MEXICO


LANA GARCIA, individually and
as Personal Representative of the
Estate of Ronald Lee Garcia, deceased,

                   Plaintiff,

v.                                             Case No. _____________________

UNITED STATES OF AMERICA,

                   Defendant.




                  COMPLAINT FOR WRONGFUL DEATH


      COMES NOW the Plaintiff Lana Garcia, individually and as Personal

Representative of the Estate of Ronald Lee Garcia, deceased, and for cause of action

against the Defendant United States of America states:

      1.    Plaintiff is a resident of New Mexico.

      2.    This action is brought pursuant to 28 U.S.C. §1346(b) and 28 U.S.C.

§2671 to §2680.

      3.    This claim has been properly presented to the appropriate federal agency

which denied the claim. Thereafter a proper request for reconsideration was filed
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which has not been ruled upon even though more than a year has passed since the

request for reconsideration.

      4.     Jurisdiction and venue are proper in this Court.

      5.     The United States of America is an appropriate Defendant as the acts and

omissions complained of were negligent actions and omissions of the United States

Department of Veterans Affairs, hereafter referred to as the VA.

      6.     Lana Garcia is the widow of the deceased, Ronald Lee Garcia, and was

appointed the Personal Representative of the Estate of Ronald Lee Garcia.

      7.     Ronald Lee Garcia received medical care through the VA Healthcare

System at the VA Hospital/VA Medical Center in Albuquerque, New Mexico in 2014

and 2015.

      8.     On or about November, 2014, Ronald Lee Garcia was taken to the VA

Hospital/VA Medical Center in Albuquerque for medical care and treatment.

      9.     From November, 2014 through February, 2015, Ronald Lee Garcia was

treated as an in-patient and out-patient at the VA Hospital/VA Medical Center in

Albuquerque, New Mexico owned and operated by Defendant.

      10.    At the VA Hospital/VA Medical Center, Ronald Lee Garcia was

examined and treated by medical personnel who were employed by, and were actual

and/or apparent agents of, Defendant acting within the course and scope of their

employment and agency.


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      11.   Ronald Lee Garcia was treated and/or under the care of the VA

Hospital/VA Medical Center until his death on February 26, 2015.

      12.   Defendant failed to exercise ordinary care in the diagnosis and treatment

of Ronald Lee Garcia and was otherwise negligent in the diagnosis and treatment of

Ronald Lee Garcia resulting in injury to him and his wrongful death.

      13.   The negligence of Defendant includes, but is not limited to:

            a.     failing to properly diagnose cancer and the physical condition of
                   Ronald Lee Garcia;

            b.     negligently diagnosing a condition for Ronald Lee Garcia that
                   was incorrect;

            c.     continuing its failure to properly diagnose and treat Ronald Lee
                   Garcia on multiple occasions during his care and treatment;

            d.     failing to have sufficient, adequately trained personnel, to render
                   an appropriate diagnosis and treatment;

            e.     failing to properly diagnose and treat Ronald Lee Garcia so as to
                   allow him a chance to survive a cancer condition that developed;

            f.     failing to provide, or tell the patient to seek, care from a doctor
                   with other qualifications; and

            g.     otherwise failing to exercise ordinary care in the care, treatment,
                   and diagnosis of Ronald Lee Garcia.

      14.   Defendant, through its agents and employees, was negligent in the

diagnosis, care and treatment of Ronald Lee Garcia and that lack of appropriate care

resulted in the death of Ronald Lee Garcia.



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      15.    In treating, diagnosing, misdiagnosing and caring for Ronald Lee Garcia,

Defendant, through its doctors and medical personnel, failed to possess and apply the

knowledge and to use the skill and care ordinarily used by reasonably well qualified

doctors and other health care providers practicing under similar circumstances.

      16.    Defendant is liable for the acts and omissions of its employees and

agents who were acting within the scope or course of their employment/agency.

      17.    The negligence of Defendant was a proximate cause of Ronald Lee

Garcia’s wrongful death.

      18.    As a result of the wrongful death, damages have occurred including, but

not limited to:

             a.    economic loss because of the wrongful death including lost
                   earnings, loss of earning capacity and loss of household services;

             b.    the value of decedent’s life;

             c.    the pain and suffering of the deceased;

             d.    the emotional distress to decedent’s spouse caused by decedent’s
                   death;

             e.    the aggravating circumstances attending the wrongful acts;

             f.    the loss to beneficiaries of other expected benefits; and

             g.    the reasonable expenses of funeral and burial.




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      WHEREFORE Plaintiff Lana Garcia, individually and as Personal

Representative of the Estate of Ronald Lee Garcia, deceased, prays for judgment

against the Defendant United States of America in the sum of $5,000,000, together

with interest, costs, and such other relief and amount as the Court deems just.

                                       /S/ JANET SANTILLANES
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                                                    and
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